                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE

 UNITED STATES OF AMERICA,                        )
                                                  )
              Plaintiff,                          )
                                                  )
 v.                                               )       No.:   3:09-CR-38-TAV-CCS-1
                                                  )
 LUCRETIA BUCHANAN,                               )
                                                  )
              Defendant.                          )


                                         ORDER

       Pending before the Court is the defendant’s motions for reduction of sentence

 pursuant to 18 U.S.C. § 3582(c) [Docs. 94, 95]. On August 25, 2009, the defendant was

 convicted of conspiracy to distribute and possess with intent to distribute fifty grams or

 more of cocaine base (count one), aided and abetted by another, maintain a residence for

 the purpose of manufacturing and distributing cocaine base (count two), and aided and

 abetted by another, possessing a firearm in furtherance of a drug trafficking crime (count

 three). She was sentenced to 110 months’ imprisonment on December 10, 2009.

       On August 3, 2010, Congress passed the Fair Sentencing Act (“FSA”). Pub. L.

 No. 111-220, 124 Stat. 2372. The FSA lowered the statutory penalties for crack cocaine

 offenses under 21 U.S.C. § 841.

       The defendant seeks a sentence reduction in light of United States v. Blewett, 719

 F.3d 482 (6th Cir. 2013). In Blewett, a divided panel of the Sixth Circuit Court of

 Appeals held that the Equal Protection Clause requires application of the FSA’s reduced




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 statutory penalties to motions to reduce otherwise-final sentences under 18 U.S.C. §

 3582(c), regardless of when a defendant was originally sentenced. 719 F.3d at 490–94.

        The government petitioned the Court of Appeals for a rehearing en banc. Given

 that motion, the government moved this Court to hold the defendant’s motion in

 abeyance pending resolution of that petition. For reasons explained in a prior order [Doc.

 103], the Court held the defendant’s motion in abeyance.

        The Court of Appeals ultimately granted the government’s petition, and on

 December 3, 2013, reversed. The en banc panel held that the FSA’s “new mandatory

 minimums do not apply to defendants sentenced before it took effect” and that “§

 3582(c)(2) does not provide a vehicle for circumventing that interpretation.” — F.3d —,

 2013 WL 6231727, at *2 (6th Cir. Dec. 3, 2013). The en banc panel further held that the

 Constitution does not dictate a different result. Id.

        Accordingly, because Blewett no longer supports the defendant’s motions for a

 sentence reduction, the defendant’s motions [Docs. 94, 95] are hereby DENIED.

        IT IS SO ORDERED.



                                     s/ Thomas A. Varlan
                                     CHIEF UNITED STATES DISTRICT JUDGE




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